 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 1 of 7
                                  Pg 1 of 7




                             EXHIBIT A
 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 2 of 7
                                  Pg 2 of 7
 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 3 of 7
                                  Pg 3 of 7
 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 4 of 7
                                  Pg 4 of 7
 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 5 of 7
                                  Pg 5 of 7
 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 6 of 7
                                  Pg 6 of 7
 08-13555-mg Doc
08-13555-scc Doc 46798-1
                 46799-1 Filed
                         Filed 11/03/14
                               11/03/14 Entered
                                           Entered 11/03/14
                                                   11/03/14 13:08:29
                                                            16:20:10 Exhibit
                                                                     Exhibit AA
                                 Pg 7 of 7
                                  Pg 7 of 7
